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        Order Regarding Motion for Sentence Reduction Under 18 U.S.C. § 3582(c)(2)



                                  UNITED STATES DISTRICT COURT
                                                      Eastern District of Arkansas

             UNITED STATES OF AMERICA
                        V.
                                                                              Case Number:           4:06-CR-00205-01-JMM
                        TAREKE LEWIS
                                                                              USM Number:            24211-009

Date of Original Judgment:                        April 17, 2009

Date of Previous Amended Judgment: N/A                                        Justin T. Eisele
(Use Date of Last Amended Judgment if Any)                                    Defendant’s Attorney



       ORDER REGARDING MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(C)(2)

      Upon motion of X the defendant          G the Director of the Bureau of Prisons     G the court
      under 18 U.S.C. § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline
      sentencing range that has subsequently been lowered and made retroactive by the United States Sentencing
      Commission pursuant to 28 U.S.C. § 994(u), and having considered such motion, and taking into account
      the policy statement set forth at USSG § 1B1.10 and the sentencing factors set forth in 18 U.S.C. § 3553(a),
      to the extent that they are applicable,

      IT IS ORDERED that the motion is:
             G DENIED.
             X GRANTED and the defendant’s previously imposed sentence of imprisonment of
                   150 months is reduced to 120 months.




Except as provided above, all provisions of the judgment dated April 17, 2009 will remain in effect.

IT IS SO ORDERED.

Order Date: 12/09/2011                                                          _______________________________
                                                                                United States District Judge



        Order Regarding Motion for Sentence Reduction Under 18 U.S.C. § 3582(c)(2)
